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                                UNITED STATES DISTRICT COURT
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                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                       WESTERN DIVISION
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      UNITED STATES OF AMERICA and                    No. CV 15-09834 DSF (AFMx)
12    STATE OF CALIFORNIA ex rel.
      JULIO BORDAS,                                   [PROPOSED] ORDER RE JOINT
13                                                    STIPULATION OF DISMISSAL OF
                  Plaintiffs,                         DEFENDANT LOMPOC VALLEY
14                                                    MEDICAL CENTER
                         v.
15
      CENCAL HEALTH, COMMUNITY                        [FILED CONCURRENTLY: JOINT
16    HEALTH CENTERS OF THE                           STIPULATION OF DISMISSAL OF
      CENTRAL COAST, INC., COTTAGE                    DEFENDANT LOMPOC VALLEY
17    HEALTH SYSTEM, DIGNITY                          MEDICAL CENTER; CONSENT OF THE
      HEALTH, LOMPOC VALLEY                           UNITED STATES AND CALIFORNIA TO
18    MEDICAL CENTER, PACIFIC                         DISMISSAL]
      CENTRAL COAST HEALTH
19    CENTERS, SANSUM SANTA
      BARBARA MEDICAL CLINIC, INC.
20    and TENET HEALTHCARE
      CORPORATION,
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                  Defendants.
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            WHEREAS, the United States of America (“United States”), the State of
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      California (“California”), and Relator have submitted a Joint Stipulation of Dismissal of
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      defendant Lompoc Valley Medical Center (“LVMC”) pursuant to Rule 41(a)(1) of the
26
      Federal Rules of Civil Procedure, 31 U.S.C. § 3730(b)(1), and California Government
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      Code § 12652(c)(1), in accordance with and subject to the Settlement Agreements
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                                          #:797



 1    executed on August 28, 2023, and with the consent of the United States and California,
 2          THEREFORE, IT IS ORDERED THAT:
 3          1.    Relator’s claims against LVMC are dismissed with prejudice as to Relator.
 4          2.    The United States’ claims against LVMC for relief and causes of action
 5                based on the Covered Conduct, as defined in the Settlement Agreement, are
 6                dismissed with prejudice as to the United States.
 7          3.    The United States’ remaining claims against LVMC are dismissed without
 8                prejudice as to the United States.
 9          4.    California’s claims against LVMC for relief and causes of action based on
10                the Covered Conduct, as defined in the Settlement Agreement, are
11                dismissed with prejudice as to California.
12          5.    California’s remaining claims against LVMC are dismissed without
13                prejudice as to California.
14          IT IS SO ORDERED.
15
16    Dated: ____________                   _______________________________
                                            UNITED STATES DISTRICT JUDGE
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     Case 2:15-cv-09834-DSF-AFM      Document 104      Filed 10/18/23   Page 3 of 3 Page ID
                                           #:798



 1                             PROOF OF SERVICE BY E-MAIL
 2          I am over the age of 18 and not a party to the above-captioned action. I am
 3    employed by the Office of United States Attorney, Central District of California. My
 4    business address is 300 North Los Angeles Street, Suite 7516, Los Angeles, California
 5    90012.
 6          On September 29, 2023, I served the [PROPOSED] ORDER RE JOINT
 7    STIPULATION OF DISMISSAL OF DEFENDANT LOMPOC VALLEY MEDICAL
 8    CENTER on each person or entity named below by e-mail.
 9          Date of e-mailing: September 29, 2023
10          Place of e-mailing: Los Angeles, California.
11          Person(s) and/or Entity(s) to whom e-mailed:
12          Edward H. Arens, Esq.
13          Phillips & Cohen LLP
            earens@phillipsandcohen.com
14          Nicholas N. Paul, Esq.
15          California Department of Justice
            nicholas.paul@doj.ca.gov
16          Diane M. Racicot, Esq.
17          Paul A. Tyrell, Esq.
            Procopio, Cory, Hargreaves & Savitch LLP
18          diane.racicot@procopio.com
            paul.tyrell@procopio.com
19          I declare that I am a member of the bar of this Court.
20          I declare under penalty of perjury that the foregoing is true and correct.
21          Executed on September 29, 2023 at Los Angeles, California.
22
23                                           /s/ Jack D. Ross
                                             JACK D. ROSS
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